                                                                                         FILED
                                                                                     August 17, 2022
                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                   WESTERN DISTRICT OF TEXAS

                                                                                BY: __                    JU___
                      UNITED STATES DISTRICT COURT                                                   DEPUTY
                        WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO
                                  ANTONIO DIVISION


USA                                              §
                                                 §     CRIMINAL NO:
vs.                                              §     SA:17-CR-00965(2)-OLG
                                                 §
2 JESSICA LYNN MCKOWN                            §

       ORDER SETTING HEARING ON MOTION TO REVOKE
                     SUPERVISED  RELEASE - IN PERSON
                      SUPERVISEDRELEASE


        IT IS HEREBY ORDERED that the above entitled and numbered case is set  set for
HEARING ON MOTION TO REVOKE SUPERVISED RELEASE - IN PERSON in
Courtroom C, on the 2nd Floor of the United States Federal Courthouse, 262 W. Nueva Street,
San Antonio, TX, on Thursday, August 25, 2022 at 09:30 AM.

       IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

                                    17th day of August, 2022.




                                                Orlando L. Garcia
                                                CHIEF U.S. DISTRICT JUDGE
